Case 2:03-Cr-20124-BBD Document 176 Filed 06/21/05 Page 1 of 2 Page|D 178

 
  

F:H.E`LJ :)"{ _q ;.).(3.

UN|TED STATES DlSTRlCT COURT

Fon THE 05 JUH 2| PH J; q _
WESTERN DISTRICT OF TENNESSEE

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UN|TED STATES OF AMER|CA

CR- NO- 0`3-20124-0
VS.

ANTONIO NEAL

ll-l-\.¢u-¢\-¢\-¢

APPLICATION ORDER and WR|T FOR HABEAS CORPUS AD PROSEOUENDUM
"-'°__"'_“‘_'_»---_-_.__.m________________________
guran j g Nea] applies to the Court for a Wn't to have h j m , now

 

 

being detained in the FCI - Memph 1 S , appear before the Honorable B . Dona ld
.. _ `.?.GN' J _ ,
on man “l_J\ , imomm JerL‘. ,4-99' , at camel l l . 55 AMfor W:§!ZNTC/ NC':

 

and for such other appearances as this Court may direct.

Respectfully submitted this Q_l_ day of JUne , HH§_X 2005 -

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Upon consideration of the foregoing Applicaiion,

sHEanFMAnoEN, FcI w Memphi 3
you ARE HEREBY coMMANDED w have A- Neal appear before me

Honorab|e Dgna] d at the date and time aforementioned.

amos
ENTEnEo this 21 day o%<¢¢»:. 499;.

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Wlth Ru|e 55 and/or 32( (b) FHCrP on I"“O §

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U ITED STA JUDGE

sTRlC COURT -WESTER DISTRCT oFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

